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                                                                                               6/23/2020

                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

  Bianca Johnson, et al.,                      )
         Plaintiffs,                           )       Civil Action No. 3:16cv00016
                                               )
  v.                                           )       ORDER
                                               )
  Andrew Holmes,                               )       By:    Joel C. Hoppe
        Defendant.                             )              United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ Motion to Extend Discovery for 45 Days

  and For Other Relief. ECF No. 124. On June 23, 2020, the Court held a hearing with counsel for

  the parties. For the reasons stated on the record, Plaintiffs’ motion is hereby GRANTED.

         1.      Within seven (7) days, the Defendant shall provide the address and phone number

  for Jennifer Zawitz;

         2.      In the Memorandum Opinion, the Court of Appeals for the Fourth Circuit

  recognized that Captain Darrell Byers’s testimony could be admissible in certain circumstances.

  See Johnson v. Holmes, No. 18-1454 (4th Cir), Mem. Op. 31–32, ECF No. 105. During today’s

  hearing, counsel for Defendant stated that he would not accept a deposition subpoena for Captain

  Byers. Absent some other arrangement, Plaintiffs’ counsel will need to issue a subpoena to

  Captain Byers for a deposition. The Court expects that Captain Byers’s deposition will take place

  within thirty (30) days.

         3.      Discovery is extended for forty-five (45) days from the date of this Order.

         It is so ORDERED.

                                                       ENTERED: June 23, 2020



                                                       Joel C. Hoppe
                                                       United States Magistrate Judge
